ALENA KRILEY,

Case: 1:22-cv-04832 Document #: 57 Filed: 11/08/23 Page 1 of 18 PagelD #:313

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

) Case No.: 22 C 4832
)
) DEFENDANT’S RESPONSE TO

Plaintiff, ) PLAINTIFF’S MOTION FOR SUMMARY
) JUDGMENT
VS. )
) ASSIGNED JUDGE: Martha M. Pacold
PAUL KRILEY, ) MAGISTRATE JUDGE: Jeffrey Cole
Defendant.

Defendant, Paul Kriley, through his attorneys, Stern Perkoski Mendez, LLC, responds

to the Plaintiffs Motion for Summary Judgment as follows:

OBJECTIONS TO FORM

Asa general matter, the Local Rules of the Northern District of Illinois require that all
motions for summary judgment comply as follows:
(a) Moving Party. With each summary judgment motion filed under Fed. R. Civ. P. 56, the
moving party must serve and file—
(1) a supporting memorandum of law that complies with LR 56.1(g); and
(2) a statement of material facts that complies with LR 56.1(d) and that attaches the cited
evidentiary material.
(3) Failure to comply with LR 56.1(a)(1) or (a)(2) may be grounds for denial of the motion.

LR 56.1(a).

GR aK RAKE

(1) Form. Each LR 56.1(a)(2) statement of material facts and LR 56.1(b)(3) statement

of additional facts must consist of concise numbered paragraphs.

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(2) Citations. Each asserted fact must be supported by citation to the specific evidentiary
material, including the specific page number, that supports it. The court may disregard any
asserted fact that is not supported with such a citation.

(3) All evidentiary material identified in LR 56.1(a)(2) and LR 56.1(6)(3) citations must be
included as numbered exhibits with the statements of fact.

(4) LR 56.1(a)(2) statements of material facts and LR 56.1(b)(3) statements of additional
facts should not contain legal argument.

(5) A movant’s LR 56.1(a)(2) statement of material facts must not exceed 80 numbered
paragraphs. An opposing party’s LR 56.1(b)(3) statement of additional facts must not
exceed 40 numbered paragraphs. A party must seek the court’s permission before exceed ing
these limits.

LR 56.1(d) (emphasis added).

Plaintiff has failed to abide by local rules in regard to their statement of material facts.
Plaintiff’s statement of material facts does not consist of concise numbered paragraphs, but
is written narratively and is included within Plaintiff’s memorandum of law and not as a
separate document. Pursuant to LR 56.1(a)(3), Plaintiff’s motion should be stricken for

failure to abide by local rules.

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RESPONSE
1. For the reasons stated in Defendant’s contemporaneously filed Memorandum of
Law in Support of Defendant’s Response to Plaintiffs Motion Summary Judgement,
Plaintiff’s Motion for Summary Judgment should be denied.
WHEREFORE, Defendant, Paul Kriley, prays that this court deny Alena Kriley’s

Motion for Summary Judgment and grant any other relief this Court deems proper.

Respectfully Submitted,
PAUL KRILEY

patep: It] § —_, 2023

/s/
Jason G. Shore, Esquire of STERN PERKOSKI MENDEZ

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

) Case No.: 22 C 4832

ALENA KRILEY, )
. )
Plaintiff, ) DEFENDANT’S MEMORANDUM OF LAW
) IN SUPPORT OF SUMMARY JUDGMENT
VS. )
PAUL KRILEY,

) ASSIGNED JUDGE: Martha M. Pacold
Defendant. ) MAGISTRATE JUDGE: Jeffrey Cole

DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF RESPONSE TO

MOTION FOR SUMMARY JUDGMENT

Pursuant to Federal Rule of Civil Procedure 56 and LR 56.1(g), Defendant, Paul Kriley,
by and through his attorneys, Stern Perkoski Mendez, LLC, files this Memorandum of Law
in Support of Response to Motion for Summary Judgment.

ARGUMENT AND ANALYSIS

Summary judgment is appropriate if "there is no genuine dispute of material fact" and
the moving party "is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). “In
applying this standard, we read the facts and draw all reasonable inferences in the light
most favorable to. . . the non-moving party.” Parker v. Brooks Life Sci. Inc.,39 F.4th 931,
936 (7th Cir. 2022).

In drawing upon all inferences in a light most favorable to the Defendant, Plaintiff’s
motion for summary judgment should be denied. Plaintiff’s argument takes a narrow and
rote application of the statute but ignores or omits several items that defeat her positions.

Plaintiff’s statement of facts disregards that Plaintiff has put forward multiple
affirmative defenses that have yet to be resolved. The first of which is the argument of
mitigation, which does not strictly apply to Plaintiff’s ability to work. Defendant has

questioned why the Plaintiff has not taken steps towards becoming a United States citizen.

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Not just for her own benefit but for the sake of the parties’ minor child. If the Plaintiff
intends to continue her residency in the United States, there is no good cause as to why she
should not seek her full citizenship. Remaining in a limbo as a permanent residence simply
continues to create chaos and uncertainty, and particularly when you consider her current
pending criminal issues and that she a minor child with the Defendant. There is no
evidence that the Plaintiff has made good faith efforts to mitigate her damages in this
situation by pursuing United States citizenship in the past two (2) years.

Furthermore, the issue of mitigation goes beyond just Plaintiff’s work history but as to
whether or not she is actually disclosing income. If the Plaintiff is not reporting income or
hiding income, that would not appear on a social security statement or taxes. However, it
is evident that she is receiving some fundsas she and the Plaintiff have been living separate
and apart ever since November 9, 2020, when the Defendant petitioned for and received
his Emergency Order of Protection for himself and the parties’ minor child. Exhibit 1 is a
copy of the November 9, 2020, Emergency Order of Protection. Since that date of
separation, the Plaintiff has paid for all of her own expenses.

On October 28, 2021, Alena provided an Illinois Financial Affidavit with supporting
documents (Exhibit 2). As of October 28, 2021, the Plaintiff stated her monthly expenses
exceeded $5,000.00 a month which does not include any payments towards her outstanding
credit card debt. The plaintiff further lists numerous loans that she has provided promissory
notes for which indicate interest and payment by December 31, 2021, foreach note. Insum
total, the Plaintiff indicated that she had borrowed $57,530.00 over the course of
approximately six (6) months of which, at least, $29,380.00 were for legal fees and costs, if
not more. In sum total, the amount of loans that the Plaintiff has claimed to have required
over this timeframe would not have even been enough to cover her stated living expenses.

One such promissory note made with Maryia Horbach indicates it was for various
expenses for the minor child including food, clothing, babysitting expenses, and toys. What
should be noted is that this promissory note was made June 1, 2021, while the minor child

was still a protected party and following the entry of an emergency order that had been

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entered on April 9, 2021 (Exhibit 3), which permitted the Defendant to leave the State of
Illinois with the minor child due to the death threats that the Plaintiff was issuing against
the Defendant and his family.

Further inspection of the Plaintiff’s financial affidavit indicates that she “returned” loans
in the amount of $123,162.00. It is not clear how she was able to return said loans nor the
purpose for this “retum” but it raises numerous doubts as to the Plaintiffs inability to
support herself if she is both able to return such a large sum of money without concern or
was able to do repay such a loan otherwise.

Beyond just the Plaintiff’s financial affidavit, her course of actions further indicates her
ongoing access to funds or ability to support herself. Namely, the Plaintiff, in or around the
winter of 2020 fled the State of Illinois with the minor child by way of taking a taxi which
she charted all the way to New York so that she could hide in the Consulate General of
Belarus. Said trip cost thousands of dollars that the Plaintiff was able to procure. Another
incident occurred in or around March 30, 2021, when the Plaintiff was able to fly herself
down to the Fort Lauderdale area of Florida and hailed a Lyft which drove her around for
almost two (2) hours while she probed her driver for information as to hire a hitman to kill
the Defendant and his family members. Lastly, on or around April 8, 2021, the Plaintiff
broke in the Defendant’s apartment where she looted numerous items, including computers
and $2,000.00 cash which was being held in a locked locker. For good measure, the Plaintiff
had the locks changed on the Defendant’s apartment so he could not gain access to his own
home upon return.

All of the above is to state that, at this stage of the matter, it is not readily apparent that
the Plaintiff is not currently supporting herself above the 125% guideline based on her
spending and expenses and as such, summary judgment would be inappropriate.

Two of Defendant’s affirmative defenses go beyond a simple analysis of the termination
factors set forth under an I-864 Petition and are matters of public policy. This Court will
ultimately need to factor in the impact the enforcement of the Plaintiff’s complaint will have

on his ability to support the minor child. The Plaintiff currently has no parenting time with

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the minor child and is only permitted brief FaceTime calls. The minor child remains a
protected party and based on the flight risk that the Plaintiff has presented herself as, it is
likely she that any parenting time she has with the minor child will be supervised upon final
judgment. Asa result of the Plaintiffs inability to care for the minor child, the Defendant
is the primary caretaker and is currently receiving no financial support or otherwise from
the Plaintiff.

The Defendant submitted his own financial affidavit as part of the dissolution matter
(Exhibit 4). Said financial affidavit shows that the Defendant, in 2021, was only making
approximately $2120.00 a month, which in itself, hardly exceeds 125% of the Federal
Poverty Guidelines for a household of two (2). While an inability to pay may not release
the liability of the Defendant, enforcing the Defendant to pay the Plaintiff would place his
own income below the Federal Poverty Guideline and render him unable to support himself
and the parties’ minor child as the Plaintiff continues to not pay towards any of the financial
obligations for the parties’ minor child.

Therefore, without considering the public policy components of this matter, summary

judgment cannot be issued.
Additionally, the Court has yet to consider that Plaintiff, while not yet removed, is
removable and possible deportable and ineligible for cancellation of removal. Defendant is
the victim of domestic violence perpetrated the Plaintiff, for which there is an Order of
Protection (Exhibit 5) and a criminal charge for violation of the Order of Protection. A
Plenary Order of Protection was entered on

On November 30, 2022, Plaintiff was arrested for violation of the Order. This case
remains undetermined and pending in Cook County under case 22 DV 7540001. Therefore,
Plaintiff may be removable and ineligible for cancellation of removal.

To qualify for cancellation of removal under INA § 240A(b), Petitioner must show that
he has not been convicted of a disqualifying offense, which includes conduct described in

INA § 237(aX(2\(EMii). See 8 U.S.C. § 1229b(b)(1)(C); 8 C.F.R. § 1240.8(d). Specifically,

INA § 237(a)(2)(E)(ii) provides:

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[a]ny alien who at any time after admission is enjoined under a protection order issued by a
court and whom the court determines has engaged in conduct that violates the portion of a
protection order that involves protection against credible threats of violence, repeated
harassment, or bodily injury to the person or persons for whom the protection order was
issued is deportable. For purposes of this clause, the term “protection order” means any
injunction issued for the purpose of preventing violent or threatening acts of domestic
violence, including temporary or final orders issued by civil or criminal courts (other than
support or child custody orders or provisions) whether obtained by filing an independent
action or as a pendente lite order in another proceeding. 8 USC. §
1227(a)(2)(E)(ii) (emphasis added).

Thus, an alien such as potentially the Plaintiff is ineligible for cancellation of removal
if she has been convicted of an offense amounting to conduct which “violates the portion of
a protection order that involves protection against credible threats of violence, repeated
harassment, or bodily injury.”

The Supreme Court has developed an interpretive method, commonly called the
categorical approach, to determine whena person’s prior criminal conviction can be counted
against the person for purposes of statutory sentencing enhancements or determinations of
removability. Under the categorical approach, courts determine whether a person has
sustained a conviction for a particular kind of crime by looking to whether the statute of
conviction matches the “generic” version of the offense, or, rather, is broader, and could
therefore be committed in a way that would not involve commission of the generic offense.

See Taylor v. United States, 495 U.S. 575, 598, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990).

The categorical approach thus directs a court’s attention to the statute of conviction, rather

than to any other information the court has about what conduct a person may have actually

engaged in to warrant (or not) a criminal conviction. See Descamps v. United States, 570

U.S. 254, 133 S.Ct. 2276, 2287-88. 186 L.Ed.2d 438 (2013). The Court has explained that

this approach has three core virtues. First, it respects the text of statutes that are enhanced

or triggered, on their own terms, by convictions under criminal statutes, rather than by

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participation in any particular prohibited conduct. Mathis v. United States, —~ U.S.—.

136 S.Ct. 2243. 2252, 195 L.Ed.2d 604 (2016). Second, it respects the requirement of the

Sixth Amendment that only a jury may find facts that increase a maximum penalty. Jd.; see

Apprendi vy. New Jersey, 530 U.S. 466, 490, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000). And

third, it avoids unfairness to defendants by directing the focus of later courts only to those
elements that the government was required to prove beyond a reasonable doubt in order to

secure a conviction. Mathis, 136 S.Ct. at 2253.

As Garcia—Hernandez recognized, the main reason to apply the categorical approach

springs from the first of the considerations the Court identified in Mathis—that the statutory

text itself invokes a “conviction.” See Garcia—Hernandez. 847 F.3d at 871 (“The categorical

and modified categorical approaches are triggered by statutes that spell out consequences

for criminal convictions.”) (citing Moncrieffe_v. Holder, 569 U.S. 184, 190-91, 133 S.Ct.

1678. 185 L.Ed.2d 727 (2013)). When a statute does not make itself contingent on a

conviction, the categorical approach is unnecessary, and courts should respond to what the
statute does depend on. While many of the conditions that may make an alien deportable,

or ineligible for cancellation, are indeed prior convictions, 8 U.S.C. § 1227(a)(2)(EV(ii) does

not invoke conviction. See 8 U.S.C. § 1227(a)(2)(A)(i) (aliens convicted of crimes involving

moral turpitude are deportable); id. § 1227(a)(2)(A\(iii) (aggravated felonies); id. §

1227(a)\(2\(B\i) (drug crime convictions); id § 1227(a\(2)(C) (firearm possession

convictions). Rather, the text of (E)(ii) depends “on what a court ‘determines’ about the

alien’s conduct.” Garcia—Hernandez, 847 F.3d at 872.

For an alien to be deportable or ineligible for cancellation under (E)(ii), there must (1)
have been a protection order entered against the alien, (2) at least one part of that order must
have involved protection against a credible threat of violence, and (3) a court must have
determined that the alien engaged in conduct that violated that portion. As explained in

Garcia—Hernandez, the statute asks whether a court has “determined” that an alien engaged

in conduct that violated the restraining order’s relevant part, not whether the statute under

which the alien was convicted necessarily in all cases, or categorically, involved such

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behavior. 847 F.3d at 873. Indeed, a conviction is not required at all, just a court’s

determination (which may, of course, comprise a conviction). Jd. In addition, the first and
second elements identified above do not call for a categorical approach, either. Rather, they
ask: was a protection order issued, and did part of it “involve” protection against a credible
threat of violence? These are questions not about the law—although the laws that authorized
a particular order may be instructive—but about the purpose of a given order, and the
purpose of its *285 provisions.+

Breaking (E)(ii) into its elements brings Rodriguez’s case more clearly into view.

First, the order that restrained Rodriguez was a protection order. A protection order is
“any injunction issued for the purpose of preventing violent or threatening acts of domestic

violence.” 8 U.S.C. § 1227(a)(2)(EXii). The order’s face in this case makes its purpose plain.

It is titled “Notice of Hearing—Temporary Restraining Order (Domestic Abuse).” And it
indicates expressly that the defendant, Kriley, is in imminent danger of physical harm.
Coupled with its stay-away provisions, and the added requirement that the person restrained,
Plaintiff, refrain from acts of domestic abuse, it is obvious that the order was issued, at least
partly, for the purpose of preventing violent or threatening acts of domestic violence.
Second, the portion of the order requiring that Plaintiff avoid defendant’s residence
involves protection against credible threats of violence, repeated harassment, or bodily
injury. The BIA determined that this provision related to protecting against future threats of
violence, and relied on its previous determination that the no-contact and stay-away

provisions of restraining orders involve such protection. See Jn re Strydom, 251. & N. Dec.

507, 510-11 (B.LA. 2011). As in Garcia—Hernandez, we agree with the BIA’s

interpretation of § 1227(a)(2)(E)(ii) on this score.

Third, and uncontestably, a court determined that Plaintiff engaged in conduct that
violated the no-contact provision. The criminal complaint alleged that she remained at a
doctor’s appointment where Defendant and their child were present. , and is charged with
having knowingly violated the domestic abuse order that enjoined that behavior. See

Garcia—Hernandez, 847 F.3d at 870, 872-73 (deciding that the state court determined

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petitioner violated the stay-away portion of a restraining order where he pleaded guilty to
violating the order, and relying on the charging document to determine what behavior the
court determined he engaged in). It does not matter that Plaintiff may not have acted
violently by remaining on the premises; her violation of the avoidance-of-contact provision
is enough.

Lastly, as a procedural matter, the doctrine of res judicata should apply and Plaintiff and
Defendant have an ongoing domestic relations case where the affidavit of support has been
brought up. See Kawai v. Uacearnaigh, 249 F. Supp. 3d 821 (D.S.C. 2017) [dismissing I-
864 action in federal Court under Younger abstentation because of ongoing family court
proceedings where federal claims may adequately be raised]; Yanguil v. Lee, 2014 WL
1400959 (E.D. Cal Apr. 10, 2014 [ res judicata dismissal because I-864 was raised in
settlement conference in divorce proceedings].

Asa result of the above pending affirmative defenses that have been put forward by
Defendant which remain pending and unresolved, summary judgment cannot be issued at

this point in the matter.

WHEREFORE the Defendant asks this Court to deny Plaintiff’s Motion for

Summary Judgment.

Respectfully Submitted,
PAUL KRILEY
DATED: N ov Pre ber , 2023

/s/
Jason G. Shore, Esquire of STERN PERKOSKI MENDEZ

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

) Case No.: 22 C 4832

ALENA KRILEY, )
) DEFENDANT’S RESPONSE TO
Plaintiff, ) PLAINTIFF’S STATEMENT OF MATERIAL
) FACTS IN SUPPORT OF MOTION FOR
vs. ) SUMMARY JUDGMENT
)
PAUL KRILEY, ) ASSIGNED JUDGE: Martha M. Pacold
) MAGISTRATE JUDGE: Jeffrey Cole
Defendant. )
NONMOVANT’S LOCAL RULE 56.1(b)(2) RESPONSE TO THE STATEMENT OF
MATERIAL FACTS
GENERAL OBJECTIONS

As stated in Defendant’s Response to Plaintiff’s Motion for Summary Judgment, Plaintiff
has failed to abide by local rules in regard to their statement of material facts. Plaintiff's statement
of material facts does not consist of concise numbered paragraphs, but is written narratively and
is included within Plaintiff’s memorandum of law and not as a separate document. Pursuant to LR

56.1(a)(3), Plaintiffs motion should be stricken for failure to abide by local rules.

Movant’s Fact Nonmovant’s Response

1 | Fact: Ms. Kriley is a citizen of Belarus. Response: Admit.

Citation: Declaration of Alena Kriley in | Citation:
Support of Plaintiffs Motion for Preliminary
Injunction ("Kriley Decl."), 4 21

Movant’s Fact Nonmovant’s Response

2 | Fact: Mr. Kriley is a United States citizen. | Response: Admit.

Citation: Complaint, Dkt. 1, p. 2 Citation:

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Movant’s Fact

Nonmovant’s Response

Fact: The couple married in the USA on
January 21, 2016

Response: Admit.

Citation: Id., 444

Citation:

Movant’s Fact

Nonmovant’s Response

Fact: Mr. Kriley thereafter commenced the
process of facilitating Alena Kriley’s

immigration to the United States

Response: Admit.

Citation: None.

Citation:

Movant’s Fact

Nonmovant’s Response

Fact: Mr. Kriley filed a Petition for Alien
Relative (Ms. Kriley), 1-130 Form, which
wasreceived by USCIS on August 11, 2016.

Response: Admit.

Citation: Id., 9 45-49 & Ex.3

Citation:

Movant’s Fact

Nonmovant’s Response

Fact: Ms. Kriley simultaneously filed a
Residency Application based on the Petition
for Alien, 1-485 Form, which was received

by USCIS on August 11, 2016.

Response: Admit.

Citation: Id., J] 50-55 & Ex.

Citation:

Movant’s Fact

Nonmovant’s Response

Fact: Under the "public charge" ground of
inadmissibility, an intending immigrant is
inadmissible ifdetermined likely to become
a public charge — meaning dependent on

public benefits.

Response: Admit.

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Citation: 8 U.S.C. §1182(a)(4\(A

Citation:

Movant’s Fact

Nonmovant’s Response

8 |. Fact: Asa family-sponsored Response: Admit.
intending immigrant, Ms. Kriley
was required to file an Affidavit of
Support signed by Mr. Kriley, her
petitioner
Citation: 8 U.S.C. § 1182(a)(4\(C Citation:
Movant’s Fact Nonmovant’s Response
9 | Fact: Without aproperly completed and | Response: Deny.
approved by the USCIS Affidavit of
Support, Ms.  Kriley would be
withoutquestion categorically inadmissible
on public charge grounds.
Citation: None. Citation:
Movant’s Fact Nonmovant’s Response
10 | Fact: On July 25, 2016, Mr. Kriley signed | Response: Admit.

an Affidavit of Support, listing Ms. Kriley
as its beneficiary.

Citation: Complaint, | 56 & Ex. 5

Citation:

Movant’s Fact

Nonmovant’s Response

1]

Fact: The contract provided, in pertinent
part:

Sponsor's Contract Please note that, by
signing this Form 1-864, you agree to
assume certain specific obligations under
the Immigration and Nationality Act (INA)
and other Federal laws. The following

Response: Admit.

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paragraph describe those obligations.
Please read the following information
carefully before you sign Form I-864. If
you do not understand the obligations, you
may wish to consult an attorney or
accredited representative.

What is the Legal Effect of My Signing
Form 1-864?

If you sign Form 1-864 on behalf of any
person (called the intending immigrant)
who is applying for an immigrant visa or
for adjustment of status.to a lawful
permanent resident, and that intending
immigrant submits Form.1-864 to the U.S.
Government with his or her application for
an immigrant visa or adjustment of status,
under INA section 213A, these actions
create a contract between you and the U.S.
Government. The intending immigrant
becoming a lawful permanent resident is
the consideration for the contract [...]

What Does Signing Form 1-864 Require
Me to do?

If an intending immigrant becomes a
lawful permanent resident in the United
States based on a Form 1-864 that you
have signed, then, until your obligations
under Form 1-864 terminate, you must:

A .Provide the intending immigrant any
support necessary to maintain him or her at
an income that is at least 125 percent of the
Federal Poverty Guidelines for his or her
household size [...]

When Will These Obligations End?

Your obligations under a Form 1-864 that
you signed will end if the person who
becomes a lawful permanent resident based
on that affidavit:

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A. Becomes a USS. citizen;

B. Has worked, or can receive credit for,
forty quarters of coverage underthe Social
Security Act;

C. No longer has lawful permanent
resident status and has departed the United
States;

D.Is subject to removal, but applies for and
obtains in removal proceedings a new grant

of adjustment of status based on a new
affidavit of support, if one is required;

E. Dies.

NOTE: Divorce does not terminate your

obligations under Form I-864

Citation: Complaint, Ex.5, p. 7-8

Citation:

Movant’s Fact

Nonmovant’s Response

12| Fact: The Affidavit of Support further | Response: Admit.
provided that by signing it,Mr. Kriley could
be sued by Ms. Kriley for the promised
financial support.
Citation: None. Citation:
Movant’s Fact Nonmovant’s Response
13 | Fact: Mr. Kriley certified that he knew and | Response: Admit.

understood the contents of the Affidavit and
understood that divorce would not end his

obligations under the Affidavit.

Citation: Id, p. 9

Citation:

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Movant’s Fact

Nonmovant’s Response

14| Fact: The Affidavit was signed by Mr. | Response: Admit.

Kriley.

Citation: Id., p. 9. Citation:

Movant’s Fact Nonmovant’s Response
15| Fact. The Government approved the | Response: Admit.

Petition for Alien Relative and the

Residency Applicationand Ms. Kriley

became a resident on December 1, 2016.

Citation: Complaint, 62 & Ex.6 Citation:

Movant’s Fact Nonmovant’s Response
16| Fact: As explained below,Mr. Kriley’s | Response: Admit.

duties under the Affidavit were triggered

when Ms. Kriley became a resident

Citation: None. Citation:

Movant’s Fact Nonmovant’s Response
17| Fact: riley and Mr. Kriley ceased residing | Response: Admit.

together as a married couple on September

29, 2020.

Citation: Kriley Decl., {5 Citation:

Movant’s Fact Nonmovant’s Response
18 | Fact: The parties are legally separated but | Response: Admit.

have not finalized a divorce.

Citation: \d., J 2

Citation:

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Movant’s Fact Nonmovant’s Response

19 | Fact: Theycontinue to be embroiled in | Response: Admit.

custody litigation concerning their child,

JK.

Citation: Id., p. 2 Citation:

